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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

APPLE INC., a California corporation,
Plaintiff,
Vv.

SAMSUNG ELECTRONICS CoO., LTD., A
Korean business entity; SAMSUNG

ELECTRONICS AMERICA, INC., a New York

corporation; SAMSUNG

TELECOMMUNICATIONS AMERICA, LLC, a

Delaware limited liability company.,

Defendants.

Case No.

DECLARATION OF

ERICA TIERNEY IN
SUPPORT OF APPLE’S
ADMINISTRATIVE MOTION
TO FILE DOCUMENTS
UNDER SEAL

11-cv-01846-LHK (PSG)

DECLARATION OF ERICA TIERNEY ISO APPLE’S MOTION TO FILE UNDER SEAL

CASE NO. 4:1 1-cv-01846-LHK

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I, Erica Tierney, do hereby declare as follows:

Ls I am an attorney for Apple Inc. (“Apple”). 1 submit this declaration in support of
Apple’s Administrative Motion to File Documents Under Seal. I have personal knowledge of the
matters set forth below. If called as a witness I could and would testify competently as follows.

as Apple’s Motion for Partial Summary Judgment, the Declaration of Saku Hieta
(“Hieta Declaration”) and the exhibits to the Hieta Declaration contain Apple-confidential
information. Specifically:

° Apple’s Motion for Partial Summary Judgment contains information regarding
the baseband processors used in Apple’s products. This information is not
publicly available and could be used by Apple’s competitors to its
disadvantage. A proposed redacted version is attached hereto as Exhibit 1.

° The Hieta Declaration contains information regarding the baseband processors
used in Apple’s products. This information is not publicly available and could
be used by Apple’s competitors to its disadvantage. A proposed redacted
version is attached hereto as Exhibit 2.

¢ The Exhibits to the Hieta Declaration contains information regarding the
baseband processors used in Apple’s products. This information is not
publicly available and could be used by Apple’s competitors to its
disadvantage. A proposed redacted version is attached hereto as Exhibit 3.

5. It is Apple’s policy not to disclose or describe information regarding the inputs to
its products. The above information is confidential to Apple. If disclosed, the information in the
materials described above could be used by Apple’s competitors to Apple’s disadvantage.

4, The relief requested in this renewed motion is necessary and is narrowly tailored to
protect confidential information, focusing only on specific exhibits and specific portions of the

briefs at issue.

DECLARATION OF ERICA TIERNEY ISO APPLE’S MOTION TO FILE UNDER SEAL
CASE No. 4:1 1-cv-01846-LHK

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I declare under the penalty of perjury under the laws of the United States of America that
the forgoing is true and correct to the best of my knowledge and that this Declaration was

executed this 25th day of January, 2012, at Cupertino, California.

Dated® Januaty 25,2012 wl lnl A of
Erica Tierney

DECLARATION OF ERICA TIERNEY ISO APPLE’S MOTION TO FILE UNDER SEAL
CASE No. 4:11-cv-01846-LHK

